
HIGH V. STATE






NO. 07-99-0254-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



MARCH 1, 2001

______________________________



CODY BRANDON HIGH,



 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;	Appellant



v.



THE STATE OF TEXAS, 



Appellee

_________________________________



FROM THE 251st DISTRICT COURT OF RANDALL COUNTY;



NO. 12,486-C; HON. PATRICK PIRTLE, PRESIDING

_______________________________



Before BOYD, C.J., and QUINN, and REAVIS, J.J.

Pending before the court is appellant’s motion to dismiss the appeal. &nbsp;The document is signed by both appellant and counsel. &nbsp;Furthermore, the conditions precedent to the voluntary dismissal of an appeal, 
see Tex. R. App. P.
 42.2(a), have been satisfied. &nbsp;Accordingly, we grant the motion and dismiss the appeal.



Per Curiam



Do not publish.


